UNITED STATES DISTRICT couRT
EASTERN DISTRECT oF WESceNSEN

aca Shontell Hewlelt

| Vv. Case No. 22-CN-13 7b
“Jason \\ \ and TLachary Lage,

* MOTION FOR DEFENDANTS TO PRODUCE DISCOVERY”
= lt Oat Shontell ewlett hereby

| respectfully

03k Ye courk foe an order tha Would foc eee

| Ye Deendants j and their counsel, to Produ ce, and

answer the Taterroga tor Queshon 410 for the

ie. Vdendank Zachary. Lane. and Me Tatertoo-
ators, Queshion AP 1% Por the Defendant —

Vaso Mil based won he Following reasons :

1. the Plantif& osked Defendant Zachary, Lange
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been under WsHadion, oc been accused oF
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D.0.C in Wisconsin! ths Vis relevant
o& foc _chacacker witness evidence foc

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| case is not Niebese on Summac dge ment)
| Def endact will revisit this _ regia”

3, /Deendact ZOchany Lan ag had Si ned ihose
“Tarencd epstorys Ges ve oath Pursuant
to 28 U.S.058 ITH on dete Tuly 21, vale

| the Plantift, had asked the Defendant Jason

| Hil lhe Trlerre accor Question 4#19- Have OU
been under Investig ation for ay acks of assualt,

| excessive force , a non Suicidal inmate’

_while emp loys by Whe D.0-°C in_ Wisconsin!”

Delendant Jason Hill With nc response to Ne

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L.| ao Tason Hill had Signed. those es a

aS questions under oath pucsuant 70
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hese DeKendantS rn ‘moved or Samide yjdqeme

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discover S demands, when Zu had’ | italy
‘Tauested these. inher ganas Prom Said

{Pekendacts and theicY counsel.

= ea Shontell Hewlett, pesey declare, A aia
isha i Gi SC: § 1746 under pe

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, ave Sue and cocreck.

Pespedly Gubrishel By Darien S Hook
Dole Of; “April 20, 2624

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